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 1   MICHAEL B. BIGELOW
     Attorney at Law
 2   State Bar No. 65211
     331 J Street, Suite 200
 3   Sacramento, CA 95814
     Telephone: (916) 443-0217
 4   Email: LawOffice.mbigelow@gmail.com
 5   Attorney for Defendant
     Minh Tham
 6
                       IN THE UNITED STATES DISTRICT COURT
 7                IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                 )   Case No. Cr.S 09-0222 TLN
                                               )
10
               Plaintiff.                      )   STIPULATION AND PROPOSED
                                               )   ORDER CONTINUING
11
                      v                        )   STATUS
12                                             )   ORDER
     MINH THAM,
13                                             )
               Defendant.                      )
14                                             )

15
               It is hereby stipulated between the parties that status
16
     in this matter, as to this defendant only, be continued to
17
     January 9, 2014. Defendant and the government continue to discuss
18

19   resolution in this matter and anticipate a change of plea on

20   January 9, 2014. However, additional time is required to clarify

21   at least one issue not yet resolved.

22       For the purpose of computing time under the Speedy Trial

23   Act, 18 U.S.C. § 3161, et seq., within which trial must commence,
24   the time period of December 12, 2013 to January 9, 2014,
25
     inclusive, is deemed excludable pursuant to 18 U.S.C.§



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 1   3161(h)(7)(A), B(iv) [Local Code T4] because it results from a
 2   continuance granted by the Court at defendant’s request on the
 3
     basis of the Court's finding that the ends of justice served by
 4
     taking such action outweigh the best interest of the public and
 5
     the defendant in a speedy trial pursuant to 18 U.S.C. § 3161(h).
 6
         4.    Nothing in this stipulation and order shall preclude a
 7
     finding that other provisions of the Speedy Trial Act dictate
 8
     that additional time periods are excludable from the period
 9
     within which a trial must commence.
10

11

12       Dated: December 10, 2013              Respectfully submitted,

13                                             /s/MICHAEL B. BIGELOW
                                               Michael B. Bigelow
14                                             Attorney for Defendant

15

16

17                             IT IS SO STIPULATED
18
     DATED: December 10, 2013          /s/MICHAEL B. BIGELOW
19
                                       Michael B. Bigelow
20                                     Attorney for Defendant Tham

21
     DATED: December 10, 2013          /s/HEIKO COPPOLA
22                                     Heiko Coppola
                                       Assistant United States Attorney
23

24

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 1

 2                                      ORDER
 3
         IT IS ORDERED: that pursuant to stipulation the above
 4
     referenced matter shall be continued until January 9, 2014 at
 5
     9:30 AM, and time excluded for the reasons set forth above.
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 8
     Dated: December 10, 2013
 9

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13                                 Troy L. Nunley
                                   United States District Judge
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